              IN THE UNITED STATES DISTRICT COURT
          FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        ASHEVILLE DIVISION
                  CIVIL CASE NO. 1:16-cv-00113-MR
            [CRIMINAL CASE NO. 1:07-cr-00033-MR-DLH-3]


JEANNIE LARGENT COSBY,    )
                          )
             Petitioner,  )
                          )                MEMORANDUM OF
         vs.              )                DECISION AND ORDER
                          )
UNITED STATES OF AMERICA, )
                          )
             Respondent.  )
                          )

       THIS MATTER is before the Court on an initial review of Petitioner’s

pro se Motion u n d e r 28 U.S.C. § 2255 to Vacate, Set Aside or Correct

Sentence. [Doc. 1]. For the reasons that follow, Petitioner’s § 2255 motion

will be dismissed as successive.

I.     BACKGROUND

        On June 13, 2007, Petitioner pleaded guilty pursuant to a plea

agreement to one count of conspiracy to possess with intent to distribute

crack cocaine, in violation of 21 U.S.C. §§ 846 and 841(a)(1). Petitioner was

sentenced to a term of 168-months’ imprisonment in November 2007. She

did not file a direct appeal.




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      On April 8, 2014, the Clerk docketed Petitioner’s first § 2255 motion to

vacate in which Petitioner argued that she was entitled to relief based on the

Fourth Circuit’s decision in United States v. Simmons, 649 F.3d 237 (4th Cir.

2011) (en banc).    In Simmons, the Court held that in order for a prior

conviction to serve as a predicate felony for purposes of a sentencing

enhancement, the defendant before the sentencing court must have been

subject to a sentence in excess of one year in prison. Petitioner argued that

after Simmons she no longer had the predicate number of felonies to qualify

for a sentencing enhancement.

      In rejecting this argument, the Court noted first that Petitioner’s motion

was untimely as it was filed more than one year after her judgment became

final. The Court also noted that Petitioner had four qualifying felony

convictions under North Carolina law — even after Simmons — and thus any

challenge to her career offender designation or a sentencing enhancement

pursuant to 21 U.S.C. § 851 was clearly meritless. The Court therefore

dismissed Petitioner’s § 2255 motion. See Cosby v. United States, No. 1:14-

cv-00086-MR (W.D.N.C. Feb. 19, 2015). Petitioner did not appeal.

      In the present motion to vacate, Petitioner argues that she should be

re-sentenced because she completed a 40-hour drug treatment program; that

she is entitled to relief based on a change in the Sentencing Guidelines; that


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her cooperation with the Government merits sentencing relief; and that she

is entitled to relief based on the Fair Sentencing Act of 2010. [Doc. 1].

II.      STANDARD OF REVIEW

         Pursuant to Rule 4(b) of the Rules Governing Section 2255

Proceedings, sentencing courts are directed to promptly examine motions

to vacate, along with “any attached exhibits and the record of prior

proceedings” in order to determine whether a petitioner is entitled to any

relief. The Court has considered the record in this matter and applicable

authority and concludes that this matter can be resolved without an

evidentiary hearing. See Raines v. United States, 423 F.2d 526, 529 (4th

Cir. 1970).

III.     DISCUSSION

         The Antiterrorism and Effective Death Penalty Act (AEDPA) provides,

in relevant part, that “[a] second or successive motion [under Section 2255]

must be certified as provided in Section 2244 by a panel of the appropriate

court of appeals to contain —

              (1) newly discovered evidence that, if proven and
              viewed in light of the evidence as a whole, would be
              sufficient to establish by clear and convincing
              evidence that no reasonable factfinder would have
              found the movant guilty of the offense; or




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            (2) a new rule of constitutional law, made
            retroactive to cases on collateral review by the
            Supreme Court, that was previously unavailable.

28 U.S.C. § 2255(h).

      As noted, Petitioner already filed an unsuccessful § 2255 motion and

she has provided no evidence that she has obtained the necessary

authorization from the Court of Appeals to file a successive petition.

Accordingly, the Court finds that it is without jurisdiction to consider the merits

of the present Section 2255 motion and it will be dismissed. See, e.g, In re

Vial, 115 F.3d 1192, 1194 (4th Cir. 1997) (en banc); United States v.

Winestock, 340 F.3d 200, 205 (2003).

      Finally, pursuant to Rule 11(a) of the Rules Governing Section 2255

Cases, the Court declines to issue a certificate of appealability as

Petitioner has not made a substantial showing of a denial of a

constitutional right. 28 U.S.C. § 2253(c)(2); Miller-El v. Cockrell, 537 U.S.

322, 336-38 (2003) (in order to satisfy § 2253(c), a petitioner must

demonstrate that reasonable          jurists would find the district court’s

assessment of the constitutional claims debatable or wrong); Slack v.

McDaniel, 529 U.S. 473, 484 (2000) (holding that when relief is denied on

procedural grounds, a petitioner must establish both that the correctness




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of the dispositive procedural ruling is debatable, and that the petition states

a debatably valid claim of the denial of a constitutional right).

                                  ORDER

      IT IS, THEREFORE, ORDERED that Petitioner’s Section 2255

Motion is DISMISSED WITHOUT PREJUDICE as successive [Doc. 1].

      IT IS FURTHER ORDERED that pursuant to Rule 11(a) of the Rules

Governing Section 2255 Cases, the Court declines to issue a certificate of

appealability.

      The Clerk is respectfully directed to close this case.

      IT IS SO ORDERED.


                                    Signed: May 5, 2016




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